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                      UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF DELAWARE

                                             :
In re                                        :      Chapter 11
                                             :
CENTER CITY HEALTHCARE, LLC,                 :      Case No. 19-11466 (MFW)
d/b/a HAHNEMANN UNIVERSITY                   :
HOSPITAL, et al.,                            :      (Jointly Administered)
                                             :
                      Debtors.               :
                                             :
IS BBFB LLC, and                             :
IS 245 NORTH 15TH LLC,                       :
                           Plaintiffs,       :      Adv. Pro. No.
                                             :
               v.                            :
                                             :
CENTER CITY HEALTHCARE, LLC,                 :
                  Defendant.                 :
                                             :

             COMPLAINT FOR DECLARATORY AND RELATED RELIEF


        IS BBFB LLC and IS 245 North 15th LLC (Plaintiffs), by and through their undersigned

attorneys, as and for their complaint against Center City Healthcare, LLC (CCH or the

Defendant), aver as follows:



                                 NATURE OF THE ACTION

        1.     This is an adversary proceeding commenced pursuant to Part VII of the Federal

Rules of Bankruptcy Procedure to recover damages against CCH resulting from CCH’s material

breaches of an Easement & Unity of Use Agreement (EEU) (Exhibit 1) and a Reciprocal

Easement and Operating Agreement (REA and, collectively with the EEU, the Agreements)

(Exhibit 2) as more particularly described herein, for a declaratory judgment determining the

Plaintiffs’ rights and interests with respect to certain real property and improvements owned or
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controlled by CCH, for damages resulting from a nuisance by reason of CCH’s failure to

maintain its properties, and for related relief.

        2.         More specifically, as set forth below, CCH owns or controls four parcels of real

estate subject to the EUU and REA while Plaintiffs own the remaining two parcels. Since taking

control of its four parcels, CCH has breach the EUU and REA by, inter alia,

        (a)        refusing to recognize Plaintiffs’ ongoing and perpetual rights to accessory parking

                   and accessory signage for Plaintiffs’ benefit on two of CCH’s parcels (Parcels D

                   and E);

        (b)        refusing to recognize Plaintiffs’ ongoing and perpetual rights to access across one

                   of its Parcels (Parcel E) for ingress and egress to Plaintiffs’ buildings;

        (c)        permitting nuisances on their properties including uncontrolled graffiti;

        (d)        failing to maintain their properties thereby allowing defective, code violating

                   conditions violating the “Operating Standard” required by the REA and forcing

                   Plaintiffs to repair CCH’s property; and

        (e)        Other breaches as described below.

all to Plaintiffs’ great loss and detriment. As such, Plaintiffs seek a declaration of their ongoing

and perpetual rights under the EUU and REA for accessory parking, accessory signage, and

access across CCH’s properties, a declaration that Plaintiffs repairs to CCH’s property was

required to make the properties safe and permitted pursuant to the REA, as well as all damages

for CCH’s breaches of the Agreements and for the nuisances created by CCH.




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                                            JURISDICTION

        3.         This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§157(b),

1334(b), 2201 and 959, F.R.Civ. P. 57 and Federal Rule of Bankruptcy Procedure 7001.

        4.         Venue is proper in this judicial district pursuant to 28 U.S.C. §1409(a).

        5.         This is a core proceeding under 28 U.S.C. §§157(b)(2)(A) and (O).

                                                PARTIES

        6.         Plaintiff IS 245 North 15th LLC is a limited liability company organized and

existing under the laws of the Commonwealth of Pennsylvania, which owns real property located

at 225-251 N. Broad St., Philadelphia, Pennsylvania (identified as Parcel B in the EUU and

REA).

        7.         Plaintiff IS BBFB LLC, is a limited liability company organized and existing

under the laws of the Commonwealth of Pennsylvania, which owns real property located at 216-

220 N. Broad St., Philadelphia, Pennsylvania, (identified as Parcel C in the EUU and REA).

        8.         Upon information and belief, CCH is a limited liability company organized and

existing under the laws of the State of Delaware. CCH is a debtor-in-possession in the above

captioned Chapter 11 cases. Pursuant to this Court’s prior Order [D.I. 4216], and as described

more fully below, CCH is also the beneficial owner responsible for the maintenance and

management of real estate identified as Parcels A, D, E, and F in the EUU and REA.


                             STATEMENT PURSUANT TO
                    FEDERAL RULE OF BANKRUPTCY PROCEDURE 7008

        9.         The Plaintiffs consent to the entry of a final judgment by this Court.




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                              PRE-BANKRUPTCY BACKGROUND

        10.        Hahnemann Hospital was located in center city Philadelphia with its main campus

including all of the real estate on the square block bounded by Broad, 15th, Race and Vine Streets

(the Former Hahnemann Properties). Although made up of numerous individual parcels of

real estate, this assemblage of properties, including multiple interconnected buildings, functioned

as a fully integrated and interdependent medical facility, including shared utility, signage,

parking, loading docks, and other services, such that each parcel in the assemblage was

functionally dependent on the others.

        11.        Upon information and belief, up to January 2018, the Former Hahnemann

Properties were owned by Tenet Health Systems Hahnemann, LLC (Tenet).

        12.        In January 2018, simultaneous with the recording of the EUU and REA, the

Former Hahnemann Properties were consolidated into six (6) separate parcels (Parcels A-F) as

follows:

              PARCEL              ADDRESS                  BUILDINGS
              Parcel A            222-248 N. Broad         North Tower & South Tower
              Parcel B            225-251 N. 15th          New College
              Parcel C            216-220 N. Broad         Bobst and Feinstein
              Parcel D            200-214 N. Broad         Surface Lot
              Parcel E            201-219 N. 15th          SHSH
              Parcel F            221-223 N. 15th          HUH Lot

and sold by Tenant to four (4) separate owners as follows:

        Owner          Entity Name                                             Parcels
          1            Broad Street Healthcare Properties, LLC (BSHP)          Parcels A & F
          2            PAHH New College MOB LLC                                Parcel B
          3            PAHH Feinstein MOB, LLC                                 Parcel C
          4            Broad Street Healthcare Properties, LLC (BSHP III)      Parcels D & E

        13.        The sale of the Former Hahnemann Properties described above occurred in the

context of Tenet’s sale of Hahnemann Hospital to debtor CCH.


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        14.        The EUU and the REA govern the use and maintenance of the Former

Hahnemann Properties, which parcels are approximately depicted on Exhibit C of the REA as

follows:




Exhibit 2 at page 39 of 46.

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        15.        The above parcels are more specifically described and depicted in the City of

Philadelphia’s Approved Plans issued with the Zoning Permit for all six parcels in January 2018

in conjunction with the creation of the EUU and REA and attached as Exhibit 3 (the City’s

Approved Plan).

        16.        The EUU and REA resulted from the recognition that all of the affected parcels

were operated as a fully “integrated and interdependent” medical facility, including shared

parking, signage, utility and other services, such that each parcel in the assemblage was

“functionally dependent” on the others. EUU exordium ¶E (“the uses of the Parcels affected by

this easement are integrated and interdependent”); REA Background ¶H (“[t]he Lots and the

improvements constructed thereon are in certain respects physically and functionally dependent

on one another” such that the REA was entered into “for the purpose of facilitating the

harmonious use and operation of the Entire Project, all as more particularly set forth [t]herein.”).

        17.        The EUU and the REA are recorded instruments which “run with the land,” and

are “binding upon and enforceable against” all successors, assigns, and transferees. EUU

exordium ¶E (“this Easement must be recorded against the Property and run with the land.”);

EUU §4.2 (“The provisions of this Easement run with the land and shall inure to the benefit of or

be binding upon and enforceable against the Owners of the Parcels, their heirs, personal

representatives, successors and assigns.”); REA §18 (“All the covenants, easements and other

provisions of this Agreement (including, but not limited to, the benefits and burdens hereof) shall

run with the land with respect to the Project Parcel and shall be binding upon, inure to the benefit

of and be enforceable by the parties hereto and their respective successors and assigns. Upon the

transfer of ownership of any area subject to any easement hereunder, the transferee shall be




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deemed to have assumed the obligations of the transferor arising from and after the date of

transfer …”).

        18.        The EUU created “reciprocal easements” for “the benefit of” the current and

future owners of all six parcels to 1) “use and enjoy all common areas” and, separately to 2) “use

the Property as if it were comprised of one parcel for zoning purposes, as more specifically

described in [the REA]”:

                1.1 Easement. Owners hereby establish and create, for the benefit of all six
        (6) Parcels, reciprocal easements that allow all six (6) Parcels to use and enjoy all
        common areas, and use the Property as if it were comprised of one parcel for
        zoning purposes, as more specifically described in an Operation and Reciprocal
        Easement Agreement among the Owners, to be recorded immediately hereafter.

        19.        Integral to facilitating “the harmonious use and operation” of these integrated and

interdependent Parcels was the “acknowledg[ment] and agree[ment]” of each Parcel Owner “that

the Entire Project is intended to be a first class medical/educational/office real estate project

and that the operation and Maintenance of each Property in accordance with [a certain]

Operating Standard benefits the Entire Project and is essential to each other Owner.” REA §5(a)

(emphasis supplied). The Operating Standard is defined by the parties in the REA to mean:

               [T]he standards of operations, cleanliness, security, appearance, repair and
        Maintenance generally applicable to similarly situated hospitals, educational and
        medical office facilities in the ‘Center City’, Philadelphia area, with due
        consideration to the age of the applicable facilities. At a minimum, the Operating
        Standard requires that the applicable Lots, Buildings, and Shared Facilities within
        the Entire Project shall at all times be operated and Maintained in good working
        order and condition, ordinary wear and tear excepted, and in compliance with all
        applicable Legal Requirements.
REA§1(t).

        20.        The REA defines “Maintenance” and “Maintain” to include “operation,

maintenance, repair, reconditioning, refurbishing … and replacement … of … other elements of

the Entire Project” which “shall also include the right of access for any of the above purposes”:


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         “Maintenance” or “Maintain” shall mean the operation, maintenance, repair,
         reconditioning, refurbishing, reconfiguration, inspection, testing, cleaning,
         painting, installation, restoration, reconstruction and replacement (when necessary
         or desirable) of Shared Facilities or other elements of the Entire Project (as the
         context requires), and shall also include the right of access for any of the above
         purposes, subject, however, to any limitations set forth elsewhere in this
         Agreement.
REA§1(o).

         21.       Section 2 of the REA provides a “Grant of Easements” which, at subsection (a),

addresses the allocation of shared utility consumption costs:

         (a) Shared Utility Facilities and Separate Facilities. … If and to the extent that any
         Lot receives utility service through Shared Utility Facilities located on another
         Lot (such as domestic water, steam, chilled water, electricity, gas, oil,
         telecommunication services or other consumable utilities), the Benefited Owner
         shall pay for the costs of such utility consumption either (a) directly to the utility
         company that provides such utility service, if and to the extent that such utility
         consumption is metered or submetered and billed directly to such Benefited
         Owner by the utility provider, (b) to the Providing Owner of such utility service,
         if and to the extent that such utility consumption is not separately metered and
         billed by the utility provider to the Benefited Owner's Property, in which case (x)
         if the utility consumption is submetered to the Benefited Owner's Property,
         then the Benefited Owner's share of the utility consumption cost shall be
         determined by the actual quantity of utilities consumed and the actual costs per
         unit charged to the Providing Owner by the utility provider, or (y) if the utility
         consumption is not submetered to the Benefited Owner's Property, then as soon as
         practicable after the date hereof the Providing Owner shall install (at the sole cost
         and expense of the Benefited Owner) a meter or submeter to determine the actual
         amount of the applicable utility service that is consumed at the Benefited Owner's
         Property, and until such meter or submeter is installed and operating the
         actual utility consumption costs shall be allocated among the Properties
         receiving such utility service proportionately on the basis of the Lot Floor
         Area 1 of each such Property, and subject to compliance with applicable Legal
         Requirements.
(Emphasis supplied).



1
    Lot Floor Area is defined in the REA as follows:

         "Lot Floor Area" shall mean, with respect to any Lot, the actual "Gross Floor Area" (as
         defined and measured in accordance with the Philadelphia Zoning Code) of all Buildings
         and other improvements located on such Lot (including for these purposes all Buildings
         and improvements under construction for which a building permit has been issued).

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        22.        Section 4 of the REA addresses maintenance of certain Shared Facilities

(including Shared Utilities and an underground Loading Dock), while Section 5 of the REA

addresses the Operations and Maintenance of the “Entire Project” (i.e., all six parcels) more

generally.

        23.        Section 5 of the REA mandates that “[n]o Owner shall permit any … condition

that, under the circumstances, is inconsistent with the Operating Standard or constitutes a

nuisance under common law, to exist upon or emanate from the Property owned by such

Owner.” REA §5(b).

        24.        Section 5 further provides that each owner shall be responsible for “Maintaining

.... and otherwise keeping in compliance with the Operating Standard and all applicable Legal

Requirements,” not only its own “respective Lot” but also “the sidewalks, walkways, driveways,

parking areas and other exterior pedestrian areas and vehicular areas located on or immediately

adjacent to such Owner’s Lot”:

        [E]ach Owner shall be responsible for Maintaining, cleaning, keeping free from
        debris, removing snow and ice from (as it relates to surface areas which involve
        pedestrian or vehicular traffic) and otherwise keeping in compliance with the
        Operating Standard and all applicable Legal Requirements: (I) its respective Lot
        and the Buildings and other improvements located thereon from time to time; (ii)
        the sidewalks, walkways, driveways, parking areas and other exterior pedestrian
        areas and vehicular areas located on or immediately adjacent to such Owner's Lot;
REA §5(a) (emphasis supplied).

                                       The Bobst Access Ramp

        25.        Of particular relevance to this complaint is an area on Parcel E defined below as

the Bobst Access Ramp, which provides necessary life safety, ingress and egress for multiple

buildings on this assemblage including the New College Building (Parcel B), the Bobst Building

(Parcel C), the Feinstein Building (Parcel C) and the SHSH Building (Parcel E).



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        26.        In this regard, Parcel E contains on its west side a former nursing home building

known as the SHSH building. The eastern-most side of Parcel E has an access ramp down to a

shared loading dock used by all of the buildings in the assemblage. The center portion of Parcel

E contains a vehicular and pedestrian access ramp from Race Street to the front entrance to the

Bobst building (the Bobst Access Ramp), which also provides access to three (3) vehicular

parking spaces located on the Bobst property (the “Bobst Parking Spaces”).

        27.        Below is an annotated extract from the City’s Approved Plan with that portion of

the Bobst Access Ramp located on Parcel E shaded in green:




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         a.        This configuration is also depicted on the Google Earth satellite image reproduced

below:




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        28.        The Bobst Access Ramp on Parcel E is an officially designated City of

Philadelphia Fire Lane which provides required access for fire equipment to the New College

Building (Parcel B), the Bobst and Feinstein buildings (Parcel C), and the SHSH building (Parcel

E) as well as access for Fire Department equipment to the Auto Sprinkler and Standpipe/Fire

Service Connection location at the entrance to the Bobst Building.

        29.        In addition to being a designated Fire Lane, the Bobst Ramp on Parcel E serves as

an area of refuge, as well as ingress and egress for the New College Building (Parcel B), the

SHSH building (Parcel E) and the Bobst and Feinstein buildings (Parcel C).

        30.        The Bobst Access Ramp on Parcel E is also the sole vehicular access to the

entrance to the Bobst Building and the Bobst Parking Spaces located on Parcel C.

        31.        The Bobst Access Ramp on Parcel E is also necessary for pedestrian access (and

ADA compliant pedestrian access) to the Bobst Building.

        32.        The Bobst Access Ramp on Parcel E, together with a narrow raised sidewalk on

Parcel E (which is not ADA compliant) located just east of the loading dock ramp (the East

Sidewalk), are also the sole pedestrian access ways to and from the Bobst building (Parcel C) as

well as emergency exits from the New College Building (Parcel B), the Feinstein building

(Parcel C), and the SHSH building (Parcel E).




                                   Accessory Parking and Signage


        33.        Historically, there was signage on Parcels D and E accessory to the buildings on

Parcel B and C.

        34.        Historically, there was vehicular parking on Parcels D and E accessory to the

buildings on Parcel B and C.

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        35.        The EUU makes clear that Parcels D and E contain Accessory Surface Parking

and Accessory Sign rights available to all of the property owners of the Former Hahnemann

Properties, which accessory use was to continue in perpetuity:

        Exordium ¶D. Owner 4 owns certain real property, Parcel D and Parcel E
        described on Exhibit D attached hereto and made a part hereof, having addresses
        of 200-14 N. Broad Street, Philadelphia, Pennsylvania, which is OPA Account
        Number 88-5-4678-62, and 201-19 N. 15th Street, Philadelphia, Pennsylvania,
        which is OPA Account Number 77-2-0284-96, respectively, comprised of
        approximately 27,491.71 and 38,821.60 square feet, respectively, and currently
        used for the following purposes: Accessory Surface Parking Lot and Accessory
        Signs with respect to Parcel D and Educational Facilities, Accessory Surface
        Parking Lot, and Accessory Signs with respect to Parcel E, with a proposed
        use of: Accessory Surface Parking Lot and Accessory Signs with respect to
        Parcel D and Educational Facilities, Accessory Surface Parking Lot, and
        Accessory Signs with respect to Parcel E.

        Section 2.1 Unity of Use. For purposes of zoning, exclusively, all four (4)
        Owners hereby agree and state that the Parcels shall be considered one
        contiguous parcel of land. In connection therewith, Owners hereby agree and
        covenant that the Parcels shall be used in such a manner as if the six (6)
        parcels that comprise the Property were one zoning property. Such current
        and proposed use of the Property is for Hospital, Group Medical, Dental, and
        Health Practitioners, Educational Facilities, Accessory Offices, Building Services,
        Accessory Surface Parking Lot, Wireless/cellular Antennas, Accessory Signs
        and Building ID Signs purposes.

(Emphasis supplied).
        36.        The Accessory Parking and Accessory Signage rights on Parcels D and E “run

with the land and shall inure to the benefit of or be binding upon and enforceable against the

Owners of the Parcels, their heirs, personal representatives, successors and assigns.” EUU §4.2.

        37.        Below is an annotated extract from the City’s Approved Plan with those portions

of Parcels D and C containing the Accessory Parking shaded in blue:




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                              BANKRUPTCY AND SUBSEQUENT EVENTS

        38.        On June 30, 2019, CCH, together with certain of its affiliates (collectively with

CCH, the Debtors), filed a voluntary petition for reorganization pursuant to Chapter 11 of Title

11 of the United States Code (the “Bankruptcy Code”) in this Court.

        39.        Upon information and belief, as of the commencement of the Chapter 11 cases,

the property owners of Parcels A-F (identified as Owners 1-4 above) (collectively, Broad Street

PropCos) were non-debtor entities.

        40.        In July 2021, Plaintiffs acquired Parcels B and C, which include the New College

Building (Parcel B), the Bobst building (Parcel C) and the Feinstein building (Parcel C).

        41.        Plaintiff IS 245 North 15th LLC leases the New College building (Parcel B) to

Drexel University’s School of Medicine. The Bobst Access Ramp is an emergency egress and


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Fire Lane serving a portion of the New College Building (including a large public gathering and

event space known as the Klahr Auditorium, which directly abuts Parcel E).

        42.        Plaintiff IS BBFB LLC is developing the Bobst building (a part of Parcel C) into

laboratory space for lease by health care tenants and renaming the building Race Street Labs

(RSL). Interior construction will be advanced enough in the next few weeks such that Plaintiff IS

BBFB LLC is about to market lab space in the Bobst/RSL building for lease to prospective life

science tenants.

        43.        As noted above, Plaintiffs’ buildings— the New College Building (Parcel B), the

Bobst building (Parcel C) and the Feinstein building (Parcel C)—are dependent upon use of the

Bobst Access Ramp and the East Sidewalk for life/safety purposes, including ingress, egress, and

fire department access. Such use has been ongoing by invitees and licensees of the New College,

Bobst and Feinstein buildings for more than 21 years.

        44.        Upon information and belief, there was contentious litigation between, inter alia,

CCH, BSHP, and BSHP III (the owners of Parcels A, D, E and F) including one or more

adversary proceedings to determine whether those Parcels should be considered assets of the

Debtors’ estates. Upon information and belief, these disputes were resolved in a Memorandum of

Understanding (MOU) pursuant to which, subject to Court approval, Parcels A, D, E and F

(hereinafter referred to as the CCH Real Estate) would be consolidated with the assets of CCH.

        45.        In response to the Debtors’ August 8, 2022, motion for the entry of an order

approving the MOU [D.I. 4128], Plaintiffs filed an objection [D.I. 4184], in which they sought to

ensure that the rights and responsibilities of each property owner under the EUU and REA would

be fully preserved and continue from and after the approval of the MOU.




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        46.        The concerns articulated by the Plaintiffs in their objection were incorporated

into a revised proposed order approving the MOU, including provisions clarifying that the

consolidation of the CCH Real Estate into the Debtors’ estate, as provided in the MOU, was in

all respects “subject to” the EUU and REA, and that the MOU would not operate to modify or

impair the Plaintiffs’ rights under the Agreements.

        47.        The Court entered an Order on August 29, 2022, approving the MOU (the MOU

Order) [D.I. 4216].

        48.        Pursuant to the MOU Order, Parcels A, D, E and F, were consolidated with the

assets of CCH, although, to date, no deeds appear to have been recorded effectuating the

conveyance of title with respect to the CCH Real Estate.

        49.        The MOU Order specifically included language that made the estate’s interest in

the CCH Real Estate subject to the EUU and REA and preserved all of Plaintiffs’ rights:

        6. … the Assets of Broad Street Healthcare Properties, LLC, Broad Street
        Healthcare Properties II, LLC and Broad Street Healthcare Properties III, LLC
        (collectively, the “Broad Street PropCos”) … including, without limitation, the
        Real Estate … shall be substantively consolidated with the assets of Debtor CCH,
        subject to all liens (other than the liens to be satisfied and/or released pursuant to
        the MOU), agreements/encumbrances running with the land (including, for
        the avoidance of doubt, the REAs and Unity of Use Agreements).

        23. The rights and interests, if any, of IS BBFB LLC and IS 245 North 15th
        LLC in the Real Estate shall not be impaired by any prior order of the Court,
        this Order, the MOU or the substantive consolidation of the Real Estate with
        CCH, provided, however, that any such rights or interests are subject to all
        claims, defenses, affirmative defenses, counterclaims, rights, setoffs and
        recoupments, all of which shall be substantively consolidated with, and may be
        asserted by, CCH.
MOU Order [D.I. 4216] (emphasis supplied).

        50.        The MOU Order gave CCH the sole authority to use, possess, and sell the CCH

Real Estate and further made all costs associated therewith the sole liability of CCH:



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        7. Pursuant to Section 3(a)(vi) of the MOU, CCH shall have the sole and
        exclusive authority to use, possess, lease, encumber, sell, transfer, assign, convey,
        or otherwise dispose of the Real Estate and/or such other Assets, and to execute
        any and all necessary and/or desirable bills of sale, deeds and other documents
        and agreements effectuating any such use, possession, lease, encumbrance, sale,
        transfer, assignment, conveyance and/or other disposition, in the name, and on
        behalf, of the Broad Street PropCos and/or CCH, subject to the terms of the MOU
        and further order of the Bankruptcy Court or the Plan, as applicable. Further, as
        set forth in Schedule 3(b) of the MOU, the Real Estate shall be managed,
        marketed and sold by CCH, together with the Committee, Tenet and the HSRE
        Entities (with CONA having observation rights). Any Financial Liability resulting
        from CCH’s exercise of its powers, rights, and/or privileges in respect of the
        Assets shall be the Financial Liability solely of CCH, and no Financial Liability
        shall be incurred by any Broad Street PropCo to any third party or otherwise as a
        result of CCH’s exercise of such powers, rights, and/or privileges.
        9. On the MOU Implementation Date, the liabilities relating to the preservation
        and maintenance of the Real Estate and such other liabilities, solely as described
        on Schedule 3(a)(vii) to the MOU shall be substantively consolidated with the
        postpetition liabilities of CCH such that the liabilities set forth on Schedule
        3(a)(vii) to the MOU shall become payable by CCH if past due, due or otherwise
        payable as incurred in the ordinary course.
MOU Order [D.I. 4216].

        51.        Notwithstanding the relevant provisions of the MOU Order which subjected CCH

to the obligations of the Broad Street PropCos under the EUU and REA, CCH materially

breached and continues to breach the Agreements.

                     Failure to Allow Accessory Parking and Accessory Signage

        52.        Since taking over Parcels D and E, CCH has repeatedly informed Plaintiffs that

Plaintiffs cannot use the accessory parking on Parcels D and E and that they cannot place or

maintain accessory signage identifying the entrance to Plaintiffs’ buildings on Parcels D and E.

        53.        CCH’s steadfast refusal to allow accessory parking and accessory signage on

Parcels D and E constitutes a breach of the EUU.

        54.        Section 5(e) of the REA provides that “Each Owner covenants and agrees that it

and its Permittees shall use, develop, occupy and Maintain its Lot and the Buildings and other

improvements located thereon from time to time in compliance with the Unity of Use

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Agreement, so long as the Unity of Use Agreement remains in effect and applies to the

applicable Lot.” Accordingly, CCH’s breach of the EUU is also a breach of the REA.

        55.        CCH’s breaches of the EUU and REA are harming Plaintiffs as it diminishes the

value of Plaintiffs’ property, deprives Plaintiffs and Plaintiffs’ invitees and licensees of

accessory parking rights, and creates confusion for Plaintiffs’ invitees and licensees as

appropriate signage for Plaintiffs’ buildings are not being allowed.

      Failure to Maintain the CCH Real Estate in Accordance with the EUU and REA

        56.        Parcel E includes the SHSH building.

        57.        Upon information and belief, the SHSH building is filled with asbestos-containing

materials and in a deteriorated condition not suitable for human occupation.

        58.        Upon information and belief, prior to the MOU Order, the Broad Street PropCos

allowed homeless persons to take up residence in the SHSH building and further allowed the

exterior of the SHSH building to be covered on all sides with a substantial amount of graffiti.

        59.        The condition of the SHSH building and parcel E does not comply with the REA

Operating Standard.

        60.        Upon information and belief, since entry of the MOU Order, CCH made efforts to

remove trespassers from the SHSH building and boarded up the building with unsightly

plywood. Additionally, in violation of the Operating Standard, CCH allowed graffiti to continue

to accumulate on the building and on other areas of Parcel E, all of which was unsightly.

        61.        Starting in at least October 2022, Plaintiff has requested that CCH comply with

the Operating Standard and remediate the graffiti and unsightly conditions on Parcel E.




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        62.        On December 14, 2022, counsel for Plaintiffs wrote to counsel for CCH

requesting that these conditions be remediated immediately as it was impacting Plaintiffs’ ability

to develop and market Plaintiffs’ properties:

                 Parcel E includes the SHSH building. I understand that due to neglect, this
        building was allowed to be occupied by homeless persons for a substantial period
        of time. While my clients appreciate past efforts to clear the building of
        trespassers, the building is still a magnet for homeless persons and the building
        itself is now boarded up with unsightly plywood and covered with graffiti, as
        demonstrated by the photographs below, which is not reflective of a “first class
        medical/educational/office real estate project”:




                 This condition directly abuts Parcel C which my clients are presently
        renovating and which they will be marketing to prospective tenants consistent
        with the Operating Standard in the very near future. The condition of the SHSH
        building detracts from (and potentially destroys) my clients’ ability to attract first
        class tenants for their property. On numerous prior occasions, my clients asked
        CCH to remedy this lack of maintenance at the SHSH property and those
        conditions unfortunately persist. I note that my clients informed CCH of the
        graffiti and other issues on Parcel E at least over two months ago on October 4,
        2022, and on many occasions thereafter, but CCH has, to date, failed to correct
        these conditions. …

               These requests, and others, for corrective action have not been complied
        with. As such, please consider this letter to be further notice of a violation of the
        REA and a formal request to immediately remediate this condition.
Exhibit 4.




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        63.        The graffiti, boarded up plywood, and other conditions on the CCH Real Estate

constitute a nuisance and violates the Operating Standard.

        64.        CCH has failed to remediate the graffiti despite their duties under the REA.

        65.        The Philadelphia Property Maintenance Code requires property owners (including

those in control of maintenance of property such as CCH) to remove graffiti:

        PM-302.9 Defacement of property. No person shall willfully or wantonly damage,
        mutilate or deface any exterior surface of any structure or building on any private or
        public property by placing thereon any marking, carving, or graffiti.
        It shall be the responsibility of the owner to restore said surface to an approved state
        of maintenance and repair.
Philadelphia Property Maintenance Code.
        66.        Under CCH’s stewardship, the graffiti continued to accumulate. For instance,

below is a photograph of the east façade of the SHSH building (the façade facing the Bobst

Access Ramp and the entryway to the Bobst/RSL building) taken on or about January 25, 2023:




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        67.        Indeed, upon information and belief, due to CCH’s failure to remediate the graffiti

as it was required to do under both the REA and Philadelphia’s Property Maintenance Code, the

City of Philadelphia Community Life Improvement Program (CLIP) sua sponte painted the

lower portion of the east façade as pictured in the photograph below taken on February 18, 2023.




        68.        Plaintiffs have been continually asking CCH to remediate the appearance of their

buildings to maintain the necessary Operating Standard under the REA, but CCH has taken no

further action.

        69.        Plaintiffs have been damaged by CCH’s failure to adhere to the Operating

Standard and maintain its properties.

        70.        Plaintiffs’ ability to attract tenants is severely hampered and damaged by CCH’s

failure to maintain its properties.


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                            Access Across the Bobst Access Ramp and
                                Pot Holes and Dangerous Surface
                     Conditions on Parcel E Including the Bobst Access Ramp
        71.        Prior to the entry of the MOU Order, the Broad Street PropCos allowed the

condition of their properties to deteriorate as a result of a lack of maintenance, including

deterioration of the sidewalks surrounding Parcel E and surface of the parking lot and the Bobst

Access Ramp on Parcel E.

        72.        CCH allowed these conditions to persist since the entry of the MOU Order, as

exemplified in the photographs below taken in November and December 2022:




        73.        These conditions are not code-compliant, and it was CCH’s responsibility to

maintain and repair its defective sidewalks and driveways. See e.g., Philadelphia Property

Maintenance Code, PM-302.3 (“Sidewalks and driveways. All sidewalks, walkways, stairs,

driveways, parking spaces and similar areas shall be kept in a proper state of repair, and

maintained free from hazardous conditions.”).

        74.        These conditions are a nuisance and unsafe for pedestrians needing to access

Plaintiffs’ buildings and are especially dangerous as they are in an area of refuge and ingress and

egress and along a designated Fire Lane.




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        75.        Upon information and belief, the broken-up surface conditions on the Bobst

Access ramp and on other portions of Parcel E were also causing leaks through the surface into

the underground loading dock, which is a shared facility pursuant to the REA.

        76.        At no time did the Broad Street PropCos or CCH take any action to ameliorate or

remediate these code violating, defective, and dangerous surface conditions.

        77.        Plaintiffs dutifully informed CCH by email on November 1, 2022, of their

construction plans for the Bobst (RSL) Building, including “repav[ing] the existing driveway and

walkway” (i.e., the Bobst Access Ramp), noting that “[d]uring construction and after

construction, we will be using it for access as it has always been used - for vehicular and

pedestrian traffic.”

        78.        CCH has refused to recognize that Plaintiffs have the right to traverse the Bobst

Access Ramp for ingress to and egress from Plaintiffs’ buildings and has further refused to

recognize Plaintiffs’ rights to parking on Parcels D and E.

        79.        CCH has refused and failed to bring the Bobst Access Ramp and the East

Sidewalk into compliance with the Operating Standard.

        80.        For instance, on November 11, 2022, CCH emailed Plaintiffs stating, inter alia,

that the REA does “not include undefined cross-access rights, nor does it grant any parking rights

to Ironstone,” and that CCH was only “willing to discuss with Ironstone agreed-upon specific

temporary parking and access rights.” (emphasis supplied).

        81.        On November 17, 2022, the Plaintiffs informed CCH that an $817,000

construction contract, including the repaving work for the Bobst Access Ramp, had been

executed, that the work was scheduled for the next few weeks, and that delays would

significantly damage Plaintiffs.



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        82.        On November 18, 2022, CCH responded that, to the extent the Plaintiffs

proceeded with paving, it would be at the Plaintiffs’ own peril and expense, and that any such

work would not modify the rights of the parties in any way.

        The property lines of our respective fee parcels are what they are and there is no
        "joint ownership" of any land. There is the REA, which is limited in scope and
        does not provide IronStone any parking or related rights on our parcels.

        More specifically, Ironstone has no rights to the "SHSH lot" and certainly no right
        to repave any portion of that lot or any other Center City Healthcare (“CCH”)
        property. We have not granted Ironstone permission to do any work in or on our
        property. To the extent that you choose to repave any land not owned by
        Ironstone, you do so at your own peril and your sole cost and expense, and any
        such work shall not serve to modify the rights of the parties or to impose any
        obligations whatsoever on CCH including any obligation to permit Ironstone to
        park on the CCH lots in the future.

        83.        At no point has CCH or the Broad Street PropCos presented a plan to remediate

the defective conditions on its properties.

        84.        On November 29, 2022, the parties met at the properties. During the meeting, the

Plaintiffs detailed their plans, including the repaving work on the Bobst Access Ramp, and

walked the property with CCH’s representatives noting defects in the Bobst Access Ramp,

including paving defects, drainage issues causing damage to the underground loading dock area,

as well as the continued problems with homeless persons and uncontrolled graffiti on and around

the SHSH building.

        85.        After this meeting, CCH’s counsel wrote to counsel for Plaintiffs and took the

position that the Plaintiffs have “no right, under the REA or otherwise, to perform”

improvements to the Bobst Access Ramp.

        86.        December 14, 2022, Plaintiffs responded by letter which detailed, inter alia, two

main rights of the IS Owners in connection with access across and maintenance of the Bobst

Access Ramp. Exhibit 4.

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                   (a)    First, Plaintiffs noted that the EUU created an easement for all common

areas which Plaintiffs understand to include the Bobst Access Ramp:

               The EUU created “reciprocal easements” for “the benefit of” the current
        and future owners of all six parcels to 1) “use and enjoy all common areas” and,
        separately to 2) “use the Property as if it were comprised of one parcel for zoning
        purposes, as more specifically described in [the REA]”:

                   1.1 Easement. Owners hereby establish and create, for the benefit
                   of all six (6) Parcels, reciprocal easements that allow all six (6)
                   Parcels to use and enjoy all common areas, and use the Property as
                   if it were comprised of one parcel for zoning purposes, as more
                   specifically described in an Operation and Reciprocal Easement
                   Agreement among the Owners, to be recorded immediately
                   hereafter.

                The term “common areas” is not defined in the EUU (or the REA). Terms
        which are not defined in an easement are given their ordinary meaning. See
        Moody v. Allegheny Valley Land Tr., 976 A.2d 484, 490 (Pa. 2009) (“In
        construing a[n easement] it is not what the parties may have intended by the
        language used but what is the meaning of the words that determines what interest
        is conveyed therein.”) (cleaned up). As noted above, the EUU recites that “the
        uses of the Parcels affected by this Easement are integrated and interdependent”
        while in the REA, the Parcel Owners expressly recognized and acknowledged that
        “[t]he Lots and the improvements constructed thereon are in certain respects
        physically and functionally dependent on one another” (REA Background ¶H).
        The Bobst Access Ramp appears to me to be an example of an area shared by the
        Parcel owners— including for access to the Bobst (RSL) Building and the Bobst
        Parking Spaces, and is indeed an area necessary for ingress to and egress from the
        Bobst (RSL) building and the Bobst Parking Spaces, while also being used for
        access to the SHSH parking area (i.e., a shared, or “common” area). See e.g.,
        Merriam-Webster’s Collegiate Dictionary (11th Ed., 2012) at definition 2(a) of
        “common” (“belonging to or shared by two or more individuals or by all members
        of a group”).

                I struggle to understand any other meaning of the easement “to use and
        enjoy all common areas” in the context of the EUU and would be curious to know
        how your client may interpret that term. At the very least, in addition to, and/or in
        the alternative, it would appear that the owner of Parcel C (my client) has an
        easement by necessity over and through the Bobst Access Ramp for ingress to and
        egress from the Bobst Building and the Bobst Parking Spaces. See Bartkowski v.
        Ramondo, 219 A.3d 1083, 1092 (Pa. 2019) (“the three fundamental requirements
        for an easement by necessity are 1) the titles to the alleged dominant and servient
        properties must have been held by one person; 2) this unity of title must have
        been severed by a conveyance of one of the tracts; and 3) the easement must be


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        necessary in order for the owner of the dominant tenement to use his land, with
        the necessity existing both at the time of the severance of title and at the time of
        the exercise of the easement.”) (cleaned up).

Id. at 4.

                   (b)   Second, Plaintiffs explained that the REA created maintenance rights

allowing the Plaintiffs to repair and replace the elements of the Bobst Access Ramp, as the REA

included not only the right to maintain each parcel owner’s “respective Lot”, but also “the

sidewalks, walkways, driveways, parking areas and other exterior pedestrian areas and vehicular

areas located on or immediately adjacent to such Owner’s Lot”:

            The REA defines “Maintenance” and “Maintain” to include “operation,
        maintenance, repair, reconditioning, refurbishing … and replacement … of …
        other elements of the Entire Project” which “shall also include the right of access
        for any of the above purposes”:

                “Maintenance” or “Maintain” shall mean the operation,
               maintenance, repair, reconditioning, refurbishing, reconfiguration,
               inspection, testing, cleaning, painting, installation, restoration,
               reconstruction and replacement (when necessary or desirable) of
               Shared Facilities or other elements of the Entire Project (as the
               context requires), and shall also include the right of access for any
               of the above purposes, subject, however, to any limitations set forth
               elsewhere in this Agreement.

        REA§1(o).

                Section 4 of the REA addresses Maintenance of certain Shared Facilities
        (including the Loading Dock underneath the entrance to the Bobst (RSL)
        building, while Section 5 of the REA addresses the Operations and
        Maintenance of the “Entire Project” (i.e., all six Parcels) more generally. In
        this section, the REA recites that “each Owner covenants and agrees that it and its
        Permittees shall use, develop, occupy and Maintain its Property, at such Owner's
        sole cost and expense, in accordance with the Operating Standard” (REA §5(a)),
        and that “No Owner shall permit any … condition that, under the circumstances,
        is inconsistent with the Operating Standard or constitutes a nuisance under
        common law, to exist upon or emanate from the Property owned by such Owner.”
        REA §5(b). This section of the REA further provides that each owner shall be
        responsible for “Maintaining .... and otherwise keeping in compliance with the
        Operating Standard and all applicable Legal Requirements,” not only its own
        “respective Lot” but also “the sidewalks, walkways, driveways, parking areas and

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        other exterior pedestrian areas and vehicular areas located on or immediately
        adjacent to such Owner’s Lot”:

                   [E]ach Owner shall be responsible for Maintaining, cleaning,
                   keeping free from debris, removing snow and ice from (as it relates
                   to surface areas which involve pedestrian or vehicular traffic) and
                   otherwise keeping in compliance with the Operating Standard and
                   all applicable Legal Requirements: (I) its respective Lot and the
                   Buildings and other improvements located thereon from time to
                   time; (ii) the sidewalks, walkways, driveways, parking areas and
                   other exterior pedestrian areas and vehicular areas located on or
                   immediately adjacent to such Owner's Lot; …

        REA §5(a) (emphasis supplied).
                   (c)    After detailing the foregoing terms of the EUU and REA and the history

of communications outlined above, Plaintiffs’ December 14, 2022, letter concluded that

Plaintiffs were specifically permitted by the EUU and REA to repave the Bobst Access Ramp:

                 In your December 9, 2022, correspondence, you state that my client “has
        no right, under the REA or otherwise, to perform” work to correct the deficient
        condition of the Bobst Access Ramp. The REA however, provides that “[e]ach
        Owner shall be responsible for Maintaining … and otherwise keeping in
        compliance with the Operating Standard and all applicable Legal Requirements:
        (i) its respective Lot and the Buildings and other improvements located thereon
        from time to time; [and] (ii) the sidewalks, walkways, driveways, parking areas
        and other exterior pedestrian areas and vehicular areas located on or immediately
        adjacent to such Owner's Lot.” (Emphasis supplied). The Bobst Access Ramp is
        such an exterior pedestrian and vehicular area immediately adjacent to my client’s
        property.

Id. at 8.

               At no point has CCH presented a plan to remediate the defective condition
        of the Bobst Access Ramp. Moreover, my client is entitled under the REA to
        Maintain the area which is an “exterior pedestrian area []and vehicular area[]
        located on or immediately adjacent to [my client’s] Lot.”

                While CCH has allowed its properties to fall out of compliance with the
        Operating Standard and to Maintain a first class medical/educational/office real
        estate project, my clients have been actively making improvements which benefits
        all owners of this integrated and functionally interdependent medical campus,
        while confirming that “in doing so, no rights of either party will be expanded or
        contracted.”


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Id. at 11.
        87.        Despite Plaintiffs’ clearly and specifically delineating their rights under the EUU

and REA, CCH did not respond to Plaintiffs December 14, 2022 letter.

        88.        Instead, CCH waited over a month while Plaintiffs continued the repaving work

on the Bobst Access Ramp before filing a motion asserting that the Plaintiff has committed a

violation of the automatic stay on January 19, 2023 (Motion) [D.I. 4468].

        89.        Not only did CCH delay filing the Motion for well over a month while Plaintiffs

continued the costly improvement of the Bobst Access Ramp (which benefits all parties), but the

Motion completely ignored and failed to reference or attach Plaintiff’s December 14, 2022

correspondence or even to address any of the legal arguments contained therein.

        90.        Prior to CCH filing its Motion, Plaintiffs substantially improved the surface

condition of the Bobst Access Ramp, making it much safer for pedestrians and vehicular traffic

as shown in the photograph below:




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         91.       For safety and code reasons, Plaintiffs’ additional plans for the Bobst Access

Ramp includes stamping the asphalt with a marked area to indicate the pedestrian walkways.

         92.       The work also includes cladding the ramp walls to include lighting to illuminate

the walkways at night, which is also required for code and safety reasons (and as the pre-existing

lighting along the prior walkway was non-functional and CCH had taken no efforts to repair the

pre-existing defective lighting).

         93.       Plaintiffs’ planned, completed, and not yet completed, work to the Bobst Access

Ramp is necessary to protect the health, safety, and welfare of persons accessing the area and

their building, and for egress and refuge in case of a fire or other emergency. This work is also

required for compliance with applicable municipal life/safety, construction, maintenance and fire

codes.

         94.       Plaintiffs previously supplied CCH with their plans to complete the work and

informed CCH that Plaintiffs would effectuate any reasonable modification of the plans as

Plaintiffs’ sole intention is to provide safe, code-compliant ingress and egress for pedestrians and

vehicular traffic. all consistent with the Operating Standard.

         95.       CCH has not consented to the completion of the work on the Bobst Access Ramp,

which leaves the ramp area out of compliance with code and creates a safety hazard.

         96.       In sum, CCH has refused to repair its own land and has stymied Plaintiffs’ efforts

to effectuate proper repairs.

         97.       CCH also continues to refuse to recognize Plaintiffs’ rights to access their

buildings through the Bobst Access Ramp and the East Sidewalk. For instance, in the Motion,

CCH reserved its position on this issue as follows:

         [I]t appears that Ironstone believes that it has the right to access the “Race Street
         Labs” building, previously known as the “Bobst Building” (located on Lot C), by


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        a ramp extending north from Race Street, approximately half-way between Broad
        and 15th Streets. The Debtors reserve all rights regarding Ironstone’s rights, if
        any, to use such ramp, which is part of the CCH Real Estate.
[D.I. 4468 at 7, fn. 2].
        98.        Plaintiffs are trying to market their properties to prospective tenants and are being

damaged as 1) there is not code-compliant access to their buildings, 2) CCH refuses to maintain

its properties consistent with the Operating Standard, 3) CCH refuses to recognize that Plaintiffs

and Plaintiffs’ tenants, invitees, and licensees have access across the Bobst Access Ramp and

East Sidewalk; and as CCH has repeatedly attempted to impede Plaintiffs’ ability to complete the

repairs which were CCH’s responsibility in the first place.


                                          Vicinity Steam Bills

        99.        The Former Hahnemann Properties utilize steam supplied by Vicinity Energy

Philadelphia, Inc. (Vicinity).

        100.       Since purchasing Parcels B and C, Vicinity has billed Plaintiffs $2,188,041 for

steam usage at the Former Hahnemann Properties.

        101.       CCH has previously requested payment from Plaintiffs in the amount of

$315,545.27 for water service charges for a shared water utility unrelated to the steam utility.

        102.       On February 9, 2023, Plaintiffs wrote to CCH enclosing an engineering report

allocating Vicinity’s charges amongst various property owners pursuant to the REA and detailing

that approximately $775,693 of Vicinity’s billings went to heat buildings on Parcel A for which

CCH is responsible as set forth in section 2(a) of the REA. Exhibit 5.

        103.       Plaintiff’s February 9, 2023 letter demanded payment from CCH of $460,147.73

(representing $775,693 of Vicinity’s billings owed by CCH less $315,454.27 which CCH claims

is due from Plaintiffs for water service). Id.



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        104.       CCH has not paid its share of the Vicinity charges.

        105.       Pursuant to the terms of the REA, CCH’s payment was due within thirty (30) days

of presentation of the bill from Plaintiffs.

        106.       Additionally, since June 30, 2023, Plaintiffs have also requested that CCH

execute an authorization allowing Vicinity to release CCH’s bills, usage, demand, hourly and

other meter data for all meters for the period of June 30, 2021 to the present.

        107.       CCH has never responded to Plaintiffs’ requests for an authorization, even though

steam is a Shared Utility Facility in the building and Plaintiffs are entitled to such information in

order to analyze Vicinity’s billings.


                            Bad Faith Denial of Access to the Data Room

        108.       The MOU Order consolidated the CCH Real Estate into the Debtors’ estate with a

view towards the sale of this real estate for the benefit of the creditors of the estate.

        109.       Plaintiffs already own two of the six parcels on the square block of the main

Hahnemann Campus discussed above.

        110.       Plaintiffs’ affiliated company, IS PAHH OZ LLC, also owns a property known as

the Wood Street Garage, which is one of three properties on another assemblage of properties

formerly owned by Tenet just north of the main Hahnemann Campus, which is subject to a

separate Easement and Unity of Use Agreement and a separate Parking, Access and Utilities

Easement Agreement (which is similar in many respects to the REA). The other two properties

on this assemblage (a Drexel dormitory known as Stiles Hall and a private park known as

Martinelli Park) were also consolidated into the Debtors’ estate pursuant to the MOU Order with

a view towards those two properties also being sold for the benefit of the creditors of the estate.



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        111.       As such. Plaintiffs are potentially interested buyers of the real estate which CCH

is presently marketing for sale.

        112.       Upon information and belief, the Court authorized CCH to market the real estate

for sale using Newmark Knight Frank (Newmark) as its real estate broker in conjunction with

SSG Capital Advisors (SSG).

        113.       In late January 2023, Plaintiffs expressed interest in potentially purchasing real

estate from Debtors’ estate by registering for access to a Virtual Deal Room (the Data Room)

established by Newmark and SSG.

        114.       On January 27, 2023, Newmark and SSG acknowledged Plaintiffs’ interest in the

properties stating that “Your access has been APPROVED. The Offering Materials will be

provided when available.” (emphasis in original).

        115.       However, when Plaintiffs tried to access the Data Room, there were no materials

available to review.

        116.       On February 10, 2023, SSG supplied Plaintiffs with an Offering Memorandum,

which disclaimed containing complete information, and SSG advised that “[t]he data room

should be available next week.”

        117.       By February 16, 2023, Plaintiffs were still not able to see any information in the

Data Room. As such, Plaintiffs reached out to Scott Victor at SSG to inquire about the lack of

information in the Data Room. Mr. Victor advised that Plaintiffs’ access to the Data Room had

been restricted upon instructions from CCH’s counsel and that Plaintiffs were the only buyer

prospect subject to such restrictions.

        118.       Accordingly, on February 16, 2023, Plaintiffs’ counsel emailed CCH’s counsel

asking them to “[p]lease provide confirmation of whether or not my clients’ access is being



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restricted and …. if my client’s access to documents in the Data Room is being restricted, please

have their access unrestricted or confirm that CCH is not interested in my clients being

potentially interested buyers.”

        119.       CCH did not respond to Plaintiffs’ February 16, 2023, inquiry about restricted

access to the Data Room. Accordingly, Plaintiffs’ counsel emailed CCH’s counsel again on

March 9, 2023, asking CCH’s counsel to “please respond to my February 16 email below to

provide confirmation of whether or not access to the Data Room is restricted for my clients who

are potentially interested buyers of the CCH Real Estate. If their access is being restricted, I

would like to know the rationale and be provided with an inventory of documents and

information in the Data Room to which my clients are not being allowed access.”

        120.       On or about March 25, 2023, Scott Victor reached out to counsel for Plaintiffs and

asked if Plaintiffs were interested in bidding on any of the properties. Counsel advised Mr.

Victor that Plaintiffs’ ability to bid on the properties might prove challenging as Plaintiffs’

access to the Data Room had been restricted.

        121.       On March 28, 2023, Plaintiffs were granted limited access to the data room. Mr.

Victor advises that there are approximately six categories of documents in the Data Room for

prospective buyers to which Plaintiff’s access has not been granted pursuant to the instructions of

CCH and their counsel.

        122.       Despite request, CCH has refused to grant access to these documents and has

further failed to even provide an inventory of these documents.

        123.       Upon information and belief, CCH has repeatedly refused to provide Plaintiffs

access to material information and documentation in the Data Room which are relevant to

Plaintiffs ability to bid on the CCH Real Estate.



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        124.       Without having all of the data in available for potential purchasers, Plaintiffs are

at an unfair disadvantage in the bidding process. This unfair disadvantage is magnified as, upon

information and belief, the bid submission deadline is May 3, 2023 which is just weeks away.

        125.       CCH has acted in bad faith by instructing its brokers SSG and Newmark to

withhold information from Plaintiffs.

        126.       CCH’s bad faith actions have or may affect the bidding process and may well

result in a less favorable outcome for creditors of the bankruptcy estate.




                                    FIRST CLAIM FOR RELIEF
                         (For Declaratory Relief Pursuant to 28 U.S.C. §2201)

        127.       Plaintiffs incorporate all prior and subsequent paragraphs as if fully set forth

herein at length.

        128.       Plaintiffs request that the Court declare that:

                   (a)    Plaintiffs are entitled to ongoing accessory surface parking on Parcels D

and E of the CCH Real Estate.

                   (b)    Plaintiffs are entitled to ongoing accessory signage on Parcels D and E of

the CCH Real Estate.

                   (c)    By virtue of the terms of the EUU and REA, the Bobst Access Ramp and

the East Sidewalk are common areas equally accessible to all Parcel Owners of the Former

Hahnemann Properties, as well as their invitees, and licenses.

                   (d)    By virtue of the terms of the EUU and REA, the Bobst Access Ramp and

the East Sidewalk are part of the ingress and egress for the New College, Bobst and Feinstein

buildings and are, and shall remain in perpetuity, accessible to Plaintiffs and all invitees and

licensees of those buildings.

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                   (e)    Plaintiffs and their invitees and licensees have an easement (either

express, prescriptive, implied, by necessity, or otherwise) over and through the Bobst Access

Ramp area as well as the East Sidewalk.

                   (f)    Plaintiffs were within their rights to repair the Bobst Access Ramp and

may fully complete their repairs of the Bobst Access Ramp and may further repair the East

Sidewalk.

        WHEREFORE, Plaintiffs request that the court enter a declaratory judgment in favor of

Plaintiffs as set forth above.

                                 SECOND CLAIM FOR RELIEF
                               (CCH’s Breaches of the EUU and REA)

        129.       Plaintiffs incorporate all prior and subsequent paragraphs as if fully set forth

herein at length.

        130.       CCH has breached the terms of the EUU and REA. CCH’s breaches include, but

are not limited to:

                   (a)    Failing to recognize the Bobst Access Ramp and East Sidewalk as

common areas over which Plaintiffs may traverse and/or to which Plaintiffs have an easement.

                   (b)    Failing to operate and maintain their premises in a condition consistent

with the Operating Standard.

                   (c)    Permitting nuisances.

                   (d)    Operating their premises in a manner which creates a risk of harm and to

Plaintiffs and Plaintiffs’ invitees and licensees.

                   (e)    Operating their premises in a manner that violates the pertinent property

maintenance, building, fire and life safety codes.




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                   (f)    Refusing to allow accessory parking and accessory signage on Parcels D

and E for the benefit of Plaintiffs and Plaintiffs invitees and licensees.

                   (g)    Failing to pay for their portion of the Shared Utility costs including the

Vicinity charges.

                   (h)    Failing to provide written authorization to obtain more detailed

information from Vicinity related to the Vicinity charges.

        131.       Plaintiffs have been damaged by CCH’s breaches of the EUU and REA.

        132.       Plaintiffs’ damages include, but are not limited to, expenses to maintain CCH’s

property including the work to repair the Bobst Access Ramp, loss of accessory parking and

signage, the claim by Vicinity for steam utility charges attributable to CCH, loss of value of

Plaintiffs’ properties, increased marketing expenses to rent Plaintiffs’ properties due to the

graffiti and nuisances permitted by CCH, increased maintenance and/or security costs, and such

other damages as may be determined.

        133.       Plaintiffs are entitled to specific enforcement of the REA and the EUU.

        134.       Plaintiffs are also entitled to recover their costs, including reasonable attorneys’

fees. See REA §12 (“Any Owner may enforce this Agreement by appropriate action and, in the

event that it prevails in such action, shall recover as part of its cost a reasonable attorney's fee

from such parties against whom such enforcement was successfully sought and obtained.”).

        WHEREFORE, Plaintiffs request all available damages and remedies, including, but not

limited to, money damages, specific performance, payment of Plaintiffs’ legal fees and costs, and

interest.




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                                   THIRD CLAIM FOR RELIEF
                                          (Nuisance)

        135.       Plaintiffs incorporate all prior and subsequent paragraphs as if fully set forth

herein at length.

        136.       CCH’s maintenance and operation of the CCH Real Estate constitute a nuisance.

        137.       CCH’s maintenance and operation of the CCH Real Estate – including its failure

to properly maintain its sidewalks (including the East Sidewalk) and the Bobst Access Ramp, its

failure to remediate graffiti, its tolerance of trespassers, and its failure and refusal to either allow

Plaintiffs to complete the Bobst Access Ramp work or to otherwise make the Bobst Access

Ramp code- compliant and safe–violates the Philadelphia Property Maintenance Code, life safety

codes, and the Operating Standard set forth in the REA.

        138.       Plaintiffs have been harmed by CCH’s nuisance.

        WHEREFORE, Plaintiffs that the Court enter judgment in favor of Plaintiffs, award

Plaintiff damages, and require CCH to remedy all nuisance conditions on their properties.


Dated: April 12, 2023                           LEECH TISHMAN FUSCALDO & LAMPL


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